
TAYLOR, J.
AFFIRMED. See Harvey v. State, No. 4D97-2820, — So.2d —, 2000 WL 140456 (Fla. 4th DCA Feb. 9, 2000); Watson v. State, No. 97-2868, — So.2d —, 2000 WL 36237 (Fla. 4th DCA Jan.19, 2000); Salters v. State, 731 So.2d 826 (Fla. 4th DCA 1999), rev. granted, 749 So.2d 503 (Fla. 1999).
On the issue of the applicable window period for challenging chapter 95-182 on single subject rule grounds, we certify conflict with the second district’s decision in Thompson v. State, 708 So.2d at 317 n. 1, as we did in Harvey, Watson, and Salters.
WARNER, C.J. and OWEN, WILLIAM C., JR., Senior Judge, concur.
